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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 15-02034 JVS(JCGx)                                      Date   October 25, 2016

 Title             Natural-Immunogenics Corp. v. Newport Trial Group, et al.


 Present: The Honorable             James V. Selna
                        Karla J. TUnis                                        Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present
 Proceedings:           (In Chambers)          Order Granting in Parte and Denying in Part
                                               Plaintiff’s Motion for Leave to File an Amended
                                               Complaint and Order Granting Defendant’s
                                               Motion for Attorneys’ Fees

         Before the Court are two motions.

       First, Plaintiff Natural-Immunogenics Corp. (“Natural-Immunogenics”) filed a
motion for leave to take further discovery and for leave to file a third amended complaint
(“motion for leave”). Docket No. 165. Defendants Newport Trial Group, Andrew Baslow
(“Baslow”), Ryan Ferrell, Scott Ferrell, Victoria Knowles (“Knowles”), and David Reid
(“Reid”) (collectively, the “NTG Defendants”) opposed. Docket No. 179. Defendants
Taylor Demulder (“Demulder”), Matthew Dronkers (“Dronkers”), Andrew Nilon
(“Nilon”), Sam Pfleg (“Pfleg”), Giovanni Sandoval (“Sandoval”) and Sam Schoonover
(“Schoonover”) (collectively, the “Non-NTG Defendants”) joined in opposition. Docket
No. 180. Natural-Immunogenics replied. Docket No. 183. The Court denied the motion
for leave to file a third amended complaint via a minute order. Docket No. 195.

      Second, the NTG Defendants filed a motion for an award of attorneys’ fees under
Cal. Code Civ. Proc. § 425.1, California’s anti-SLAPP law. Docket No. 172. Natural-
Immunogenics opposed. Docket No. 178. The NTG Defendants replied. Docket No. 184.

       For the following reasons, the Court denies in part and grants in part the motion
for leave and grants the motion for attorneys’ fees.

                                                BACKGROUND

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      This case’s factual background is well known to the parties and detailed in the
Court’s earlier order. Docket No. 157. The Court lays out this case’s procedural history in
some detail because it is relevant to these motions.

       On May 9, 2016, the Court entered its scheduling order. Docket No. 91. At that
time the Court limited discovery to the cases specified in the complaint. On July 20,
2016, the Court issued an order clarifying the discovery plan. Docket No. 155. This order
specified that Natural-Immunogenics should apply to the Court for leave to take any
discovery beyond the cases specified in its complaint.

       On May 10, 2016, Natural-Immunogenics filed its second amended complaint
(“SAC”) in this action.1 Docket No. 92. The second amended complaint alleged: (1)
malicious prosecution against the NTG Defendants, Nilon, and Sandoval; (2) violation of
the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et
seq., against all defendants; (3) conspiracy to violate RICO against all defendants; and (4)
unfair competition in violation of the California Unfair Competition Law (“UCL”), Cal.
Bus. & Prof. Code § 17200 et seq., against all defendants. Id.

      On May 31, 2006, the NTG Defendants filed their Rule 12(b)(6) motion to dismiss
the SAC’s RICO claims, Docket No. 120, as well as their anti-SLAPP motion. Docket
No. 122. On June 6, 2016, the Non-NTG Defendants joined and filed their own motion.
Docket No. 124–126.

       On July 25, 2016, the Court held a hearing on the motions. Docket No. 156. On
August 1, 2016, the Court granted the NTG Defendants’ Federal Rule of Civil Procedure
(“Rule”) 12(b)(6) motion to dismiss the 18 U.S.C. § 1961 claims against Knowles.
Docket No. 157. The Court also granted the NTG Defendants’ anti-SLAPP motion to
strike all allegations purporting to bring UCL claims on behalf of the general public. Id.
Finally, the Court granted the non-NTG Defendants’ Rule 12(b)(6) motion to dismiss the
18 U.S.C. § 1962(c) and corresponding UCL claims against Pfleg, Dronkers, Demulder,

                1
           Natural-Immunogenics filed its first complaint in December
    2015. Docket No. 1. Natural-Immunogenics filed its first amended
    complaint in January 2016. Docket Nos. 29, 30. After motion and
    oral argument, the Court dismissed Natural-Immunogenics’ first
    amended complaint without prejudice. Docket No. 88.
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and Schoonover. Id. The Court denied the motions to dismiss with respect to all other
claims. Id.

                                          ANALYSIS

I. The Court denies Natural-Immunogenics’ motion for leave to take discovery of
the Hanberg litigation, but grants it with respect to Continuity Research.

       The Rules permit discovery of any relevant, nonprivileged matter that is
“proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(2). The Rules specify
several factors to evaluate proportionality: “the importance of the issues at stake in the
action, the amount in controversy, the parties' relative access to relevant information, the
parties' resources, the importance of the discovery in resolving the issues, and whether
the burden or expense of the proposed discovery outweighs its likely benefit.” Id.

         A. The Court denies Natural-Immunogenics’ motion with respect to the
         Hanberg Litigation because the existing allegations do not justify increasing
         the case’s complexity.

       Natural-Immunogenics requests leave to take further discovery in two areas. First,
Natural-Immunogenics seeks discovery regarding litigation between Kristyne Hanberg
(“Hanberg”), a Los Angeles teacher, and DeviantArt, Inc. Decl. Peter Arhangelsky ¶ 7
(“PA Decl.”). The case came to Natural-Immunogenics’ attention because its counsel
received an unsolicited email from an attorney named Scott Vick (“Vick”). Id. ¶ 6. Vick,
DeviantArt’s attorney in the matter, explained the case and provided information on
Hanberg’s lawsuit after Natural-Immunogenics served a subpoena. Id. ¶ 7. Vick stated
that Hanberg’s alleged purchase, for which DeviantArt was subsequently sued, was
actually made at an IP address belonging to the Newport Trial Group. Vick Decl., Docket
No. 131, Ex. 5, ¶ 5-6. He discovered that Hanberg had been a putative class action
plaintiff in four other lawsuits between November 2015 and April 2016, including some
filed by the Newport Trial Group. Id.¶ 10. Vick later received a demand letter from Scott
Ferrell at the Newport Trial Group. Id. ¶ 7. Vick received a second demand letter from
the law firm Milstein Adelman Jackson Fairchild & Wade LLP (“Milstein”). Id. ¶ 8.
Milstein subsequently filed a putative class action on Hanberg’s behalf. Id. ¶ 9.

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       Natural-Immunogenics obtained a copy of Hanberg’s deposition in the DeviantArt
case. Her testimony suggested that she was unaware of her other cases and could not
remember the products she purchased that led to the lawsuits. Docket No. 165, Ex. H at
28–56. Based on this testimony and Vick’s statements, Natural-Immunogenics now seeks
to serve Hanberg with written discovery and depose her. Docket No. 165 at 13. It also
seeks to serve her employer and the Newport Trial Group with relevant discovery.

       Natural-Immunogenics has failed to show that the Hanberg allegations are
sufficient to take additional discovery. While Hanberg’s deposition shows that she may
have been a Newport Trial Group plaintiff, any evidence relating to her is unlikely to
enhance the existing allegations. The Newport Trial Group did not file her case and the
fact that she had been a serial plaintiff for Newport Trial Group does not establish a
pattern of racketeering activity. Finally, Natural-Immunogenics already has specified
eight cases for discovery. Because of this existing limitation, the risk of sprawling
discovery, and the unlikehood of any benefit, the Court finds that discovery related to the
Hanberg litigation is not warranted and would merely increase the case’s cost and
complexity.

         B. The Court grants Natural-Immunogenics’ motion with respect to
         Continuity Research because the allegations suggest a pattern of racketeering
         activity.

       Natural-Immunogenics also seeks discovery of correspondence allegedly in
Continuity Research, LLC’s (“Continuity”) possession. That correspondence allegedly
contained NTG’s instructions from David Reid and Scott Ferrell to create corporate
entities solely to pursue legal claims. Docket No. 175, Ex. A. Natural-Immunogenics
developed this belief after communication between its counsel and Allison Borts
(“Borts”), an in-house attorney at Continuity. Natural-Immunogenics’ counsel filed a
declaration explaining the conversations. Docket No. 165, Ex. B. The NTG Defendants’
counsel’s declaration disputed this account; it included statements from Borts that
Natural-Immunogenics’ counsel disputed her account. Docket No. 179, Ex. A. In
response, Natural-Immunogenics filed a notice of errata and a corrected declaration that
omitted reference to her statements. Docket No. 175, Ex. A.


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       The Court finds that discovery is appropriate with respect to Continuity. The
alleged correspondence contains conversations between Newport Trial Group attorneys
about a plan to form sham corporate entities solely to pursue legal claims. Although the
dueling declarations disputed the correspondence’s exact content, such allegations are at
the heart of this case. If true, this evidence would support Natural-Immunogenics’ claim
of a pattern of RICO activity. Therefore, the Court finds that the importance of this
discovery outweighs the burden on the parties and is proportional to the case’s needs.

II. The Court grants the NTG Defendants’ motion for attorneys’ fees because their
anti-SLAPP motion limited the scope of available injunctive relief.

         A. Natural-Immunogenics may no longer obtain a public injunction.

       “In any action subject to subdivision (b) [of California’s Anti-SLAPP statute], a
prevailing defendant on a special motion to strike shall be entitled to recover his or her
attorney’s fees and costs.” Cal. Civ. Proc. Code § 425.16(c)(1) (“CCP”). The award is
mandatory for any prevailing defendant. Mann v. Quality Old Time Serv., Inc., 139 Cal.
App. 4th 328, 340 (2006). A party who partially prevails may recover attorneys’ fees
unless the motion’s results “were so insignificant that the party did not achieve any
practical benefit from bringing the motion.” Id. See also Brown v. Elec. Arts, Inc., 722 F.
Supp. 2d 1148, 1155 (C.D. Cal. 2010).

      A court examines the motion’s results to determine whether a partially prevailing
party may recover attorneys’ fees. See Mann, 139 Cal. App. 4th at 340. A court must
determine whether the motion altered the case’s substance, or if it was merely a technical
victory. See Brown, 722 F. Supp. 2d at 1155. In particular, a court considers whether the
motion changed the plaintiff’s possible recovery or factual allegations. See Moran v.
Endres, 135 Cal. App. 4th 952, 955 (2006). A court also analyzes whether either party’s
burden or workload shifted. Id.

       For instance, Moran refused to award attorneys’ fees when the anti-SLAPP motion
only struck the plaintiffs’ conspiracy claim — which engendered no tort liability on its
own. Id. at 954-55. In contrast, another court granted attorneys’ fees when it struck the
plaintiff’s state law claims for fraud, misappropriation, and violation of the UCL.
Shepard v. Miler, No. CIV. 2:10-1863 WBS, 2011 WL 1740603, at *2 (E.D. Cal. May 5,
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2011). Eliminating the state law claims narrowed the case’s scope, limited discovery,
reduced potential damages, and altered the case’s settlement posture. Id. Therefore, the
defendant could recover attorneys’ fees on the motion. Id.

      The NTG Defendants argue that they may recover attorneys’ fees because the
Court’s order limited three of Natural-Immunogenics’ remedies. They argue that these
changes make the NTG Defendants the prevailing party for three reasons. First, Natural-
Immunogenics may no longer recover attorneys’ fees under CCP section 1021.5 because,
under the UCL, plaintiffs may only recover attorneys’ fees for representative actions.
Docket No. 132 at 19. Second, Natural-Immunogenics may no longer obtain any
injunctive relief, except on it own behalf. Docket No. 132 at 20. Third, Natural-
Immunogenics may no longer seek restitution on the public’s behalf. Id. at 21.

       The UCL does not permit plaintiffs to recover damages or attorneys’ fees. Yanting
Zhang 57 Cal. 4th at 371. But, individual UCL plaintiffs may still seek attorneys’ fees as
private attorney generals under CCP section 1021.5. See, e.g., Id. at 371, n. 4.; Bui v.
Nguyen, 230 Cal. App. 4th 1357, 1362 (2014) (considering awarding attorneys’ fees to
an individual UCL plaintiff). Therefore, Natural-Immunogenics may still recover
attorneys’ fees under section 1021.5.

       The UCL limits prevailing plaintiffs to injunctive relief and restitution. Yanting
Zhang v. Superior Court, 57 Cal. 4th 364, 371 (2013). It further limits injunctive relief to
class actions. Cal. Bus. & Prof. Code § 17203 (“Any person may pursue representative
claims or relief on behalf of others only if the claimant meets the standing requirements
of Section 17204 and complies with Section 382 of the Code of Civil Procedure”); see
also Circle Click Media LLC v. Regus Mgmt. Grp. LLC, No. 12-CV-04000-EMC, 2016
WL 3879028, at *6, (N.D. Cal. July 18, 2016) (“[T]he Court cannot issue injunctive relief
on behalf of others as a matter of state law under the UCL without class certification.”).
This means that — absent class certification — injunctive relief is available to prevent a
business from engaging in unfair competition with respect to the plaintiff — but not with
respect to every individual. Id. at *5. A court may still issue broad injunctive relief to
prevent the harm to the plaintiff, but only “if such breadth is necessary to give prevailing
parties the relief to which they are entitled.” Id. at *5, n.6


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       Therefore, Natural-Immunogenics may not obtain public injunctive relief under the
UCL, nor can it receive restitution for the public. Natural-Immunogenics agreed to strike
its request for restitution before the NTG Defendants filed their motion. Docket No. 172,
Ex. 7. Hence the NTG Defendants did not change the case when they struck this remedy.
But, the NTG Defendants did change the case’s substance by succeeding on their second
motion to strike Natural-Immunogenics’ claims on behalf of the general public.

        Before the second motion, Natural-Immunogenics could have received a broad
“obey the law” injunction that required the NTG Defendants to abstain from any unlawful
competitive practices: now Natural-Immunogenics may only receive targeted injunctive
relief that prevents the NTG Defendants from harming Natural-Immunogenics in the
future. Because this is more than a technical victory the NTG Defendants may recover
attorney fees. See Brown, 722 F. Supp. 2d at 1155.

         B. The NTG Defendants may recover $4,508.36 in attorneys’ fees from their
         second motion, but may not recover fees for the first motion because the first
         motion did not change the case’s substance.

       A court uses the lodestar method to determine the appropriate amount of attorneys’
fees for a prevailing defendant on an anti-SLAPP motion. Mann, 139 Cal. App. 4th at
342. First, a court assesses the time spent and reasonably hourly compensation for each
attorney. Id. Then a court decides whether to adjust that lodestar figured based on other
factors, such as the plaintiff’s limited success. Id. This means that a prevailing party may
not recover fees for work on unsuccessful causes of action. Id. Other relevant factors
includes “the extent to which the defendant's litigation posture was advanced by the
motion, whether the same factual allegations remain to be litigated, whether discovery
and motion practice have been narrowed, and the extent to which future litigation
expenses and strategy were impacted by the motion.” Id. at 345. A court may identify
specific hours that should be eliminated, or it “may simply reduce the award to account
for the limited success.” Id. at 343 (internal quotations omitted).

       Here, the NTG Defendants have requested attorneys’ fees from three motions.
First, 50 percent of the $43,745.80 for their first motion to strike, or $23,022.90. Docket
No. 172 at 14-15. Second, 20 percent of the $22,519.30 from their second motion to

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strike, or $4,503.86. Id. at 17. Third, $22,335 for their motion for attorneys’ fees. Id. at
19.

       The Court finds that the hourly rates billed by counsel were reasonable and
commensurate with their experience and skill. Golden Dec. ¶ 11-16. This is particularly
so in light of the 20 percent discount from the attorneys’ usual hourly rates. Id. The
number of hours and distribution of work among lawyers of various levels of experience
are reasonable.

       The NTG Defendants may recover fees on their second motion, but not on their
first motion. Although the Court granted the NTG Defendants’ first motion to strike, this
victory did not change the case’s substance. Instead, Natural-Immunogenics had an
opportunity to replead and cure the defect. The NTG Defendants rely on Kearney v.
Foley & Lardner, 553 F. Supp. 2d 1178, 1184 (S.D. Cal. 2008), for the rule that a
defendant may recover fees for two motions when the legal theories are “inextricably
intertwined.” That rule does not apply here. Although the motions advanced similar
theories, only the second motion changed Natural-Immunogenics’ potential relief.

       Therefore, the Court grants the NTG Defendants’ request for fees with respect to
the second motion, but denies it with respect to the first motion. The Court finds that an
award of $4,503.86 is reasonable for the second motion. See Buzayan v. City of Davis,
No. 206CV01576MCEDAD, 2008 WL 1994945, at *2 (E.D. Cal. May 2, 2008) (20
percent of fees appropriate when the defendants’ anti-SLAPP motion eliminated one out
of 19 causes of action).

         C. The Court finds that an award of $3,662.94 is appropriate for the fees
         incurred to bring this motion because the NTG Defendants’ motion for fees
         was only partially successfully.

       Like the standard lodestar calculations, a district court has discretion to reduce the
fees requested for bringing the motion. See Comm'r, I.N.S. v. Jean, 496 U.S. 154, 163, n.
10 (1990) (“[F]ees for fee litigation should be excluded to the extent that the applicant
ultimately fails to prevail in such litigation.”). A court may base this reduction on the
same rationale it used to reduce the requested fees. See Hirsch v. Compton Unified Sch.
Dist., No. CV 12-01269 RSWL MRW, 2013 WL 1898553, at *6 (C.D. Cal. May 3, 2013)
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(quoting Schwarz v. Sec'y of Health & Human Servs., 73 F.3d 895, 909 (9th Cir. 1995))
(“[A] district court does not abuse its discretion by applying the same percentage of
merits fees ultimately recovered to determine the proper amount of the fees-on-fees
award.”).

       Here the NTG Defendants recovered approximately 16.4 percent of their requested
       2
fees. Therefore, the Court finds it appropriate to award 16.4 percent of their requested
fees, or $3,662.94.3 See, e.g., Hirsch, 2013 WL 1898553, at *6 (awarding the same share
of the fees on fees as the requesting party received on its merits fees); United States ex rel
McLean v. Cty. of Santa Clara, No. 5:05-CV-01962 HRL, 2013 WL 5544148, at *5
(N.D. Cal. Sept. 30, 2013) (same).

       In sum, the Court awards the NTG Defendants $4,503.86 in attorneys’ fees for
their motion to strike and $3,662.94 in fees incurred to bring the motion.

                                               CONCLUSION

      For the foregoing reasons, the Court grants leave to conduct discovery on
Continuity. The Court denies leave to conduct discovery related to the Hanberg litigation.
Finally the Court grants the NTG Defendants’ motion for attorneys’ fees. The Court
awards the NTG Defendants $8,166.8 in fees.

                                                                                              :         00


                                                       Initials of Preparer             kjt




                2
                    $4,503.86/$27,526.76=16.36 percent.
                3
                    0.164 * $22,335= $3662.94
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